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14                                 UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF CALIFORNIA
15
     THERESA SWEET, ALICIA DAVIS, TRESA                Case No. 19-cv-03674-WHA
16
     APODACA, CHENELLE ARCHIBALD,
17   DANIEL DEEGAN, SAMUEL HOOD, and                   NOTICE OF MOTION AND MOTION
     JESSICA JACOBSON on behalf of themselves          TO ENFORCE SETTLEMENT
18   and all others similarly situated,                AGREEMENT
19
            Plaintiffs,                                HEARING DATE: April 25, 2024
20
            v.                                         (Class Action)
21                                                     (Administrative Procedure Act Case)
     MIGUEL CARDONA, in his official capacity
22
     as Secretary of the United States Department of
23   Education, and

24   THE UNITED STATES DEPARTMENT OF
     EDUCATION,
25
26                   Defendants.

27
28
                                 MOTION TO ENFORCE SETTLEMENT AGREEMENT
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1    Press Release, “U.S. Department of Education Announces Withholding of Payment to Student
2      Loan Servicer as Part of Accountability Measures for Harmed Borrowers” (Oct. 30, 2023),
3      https://www.ed.gov/news/press-releases/us-department-education-announces-withholding-
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1                                         NOTICE OF MOTION
2           PLEASE TAKE NOTICE THAT on April 25, 2024, at 8:00 a.m., in the courtroom of the
3    Honorable William Alsup, Courtroom 12, 19th Floor of the United States District Court for the
4    Northern District of California, located at 450 Golden Gate Avenue, San Francisco, CA 94102,
5    Plaintiffs will and hereby do respectfully move the Court for an order enforcing certain provisions
6    of the class action settlement agreement in this case. This Motion is supported by the
7    accompanying memorandum of points and authorities, the attached declarations and exhibits, the
8    pleadings and other papers filed in this case, oral argument, and any other matters in the record or
9    of which this Court takes notice.
10                       MEMORANDUM OF POINTS AND AUTHORITIES
11   I.     INTRODUCTION
12          On November 16, 2022, this Court granted final approval of a class-wide settlement of this
13   action pursuant to Federal Rule of Civil Procedure 23. See ECF Nos. 345, 346. The Settlement
14   Agreement (ECF No. 246-1, the “Agreement”; appended hereto as Exhibit 1), which Plaintiffs and
15   the Department of Education (“Department,” and together, the “Parties”) signed on June 22, 2022,
16   provided specific instructions for the Department to deliver relief to over 264,000 Class Members.
17   The Agreement went into effect on January 28, 2023. See ECF No. 382 at 8.
18          The Department has yet to complete a confirmed discharge for nearly a third of the more
19   than 195,000 members of the “automatic relief group,” the largest group of Class Members.
20   Members of the automatic relief group were to receive “Full Settlement Relief”—federal loan
21   discharges, refunds of amounts paid to the Department, and deletion of relevant tradelines from
22   their credit reports—within one year of the Effective Date, i.e., by January 28, 2024. See
23   Agreement §§ II.S, IV.A.1. As of March 18, 2024, the Department still had not delivered
24   discharges and refunds to at least 55,000 members of this group. Moreover, these figures do not
25   account for Class Members who may have received their discharges and/or refunds, but not credit
26   repair—a number that, to date, the Department has claimed it does not know.
27          The Department admits that it is in breach of Section IV.A.1 of the Agreement. Per the
28   terms of the Agreement, the Parties met and conferred several times in an attempt to reach

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1    consensus on the appropriate actions the Department could take to resolve this breach.
2    Unfortunately, the Parties were unable to reach consensus, due primarily to the Department’s
3    refusal to commit to a firm, near-term date by which all members of the automatic relief group
4    would receive their Full Settlement Relief.
5           Class Members are suffering serious, ongoing harm as a result of the Department’s failure
6    to meet the required deadline. Some were counting on their refunds to pay for life necessities, such
7    as dental work or home repairs. Some are unable to purchase a home or car because loans that
8    should have been discharged already are still appearing on their credit reports. Some are trying to
9    pay down other, high-interest loans that grow every day. Many have experienced unlawful
10   attempts by their federal student loan servicers to collect on loans that are covered by the
11   Agreement, causing Class Members stress and confusion (made worse by the Department’s lack
12   of oversight as its servicers disseminate misinformation about settlement relief). Most are suffering
13   from fear and distress about whether they will receive the relief they are owed. And for each and
14   every member of the automatic relief group who hasn’t received their Full Settlement Relief, the
15   Department’s failure here represents yet another unlawful delay and breach of trust by the
16   Department, in a case that is about the Department’s years upon years of similar failures.
17          When student loan borrowers miss deadlines, the consequences are immediate and drastic.
18   They are harassed by debt collectors, have their credit damaged, and can have their income seized.
19   The Department of Education, which permits such draconian measures for its constituents, should
20   not be permitted to escape accountability for its own missed deadlines.
21          Accordingly, pursuant to Section V.A.2 of the Settlement Agreement, Plaintiffs bring this
22   action to enforce the terms of the Agreement. Plaintiffs request that this Court issue an order
23   requiring Defendants to promptly provide Full Settlement Relief to each affected Class Member
24   by May 31, 2024, or such other date as the Court deems appropriate. Plaintiffs further request that
25   such an order require Defendants to provide regular reports to Plaintiffs’ Counsel and the Court
26   on their progress of issuing relief to affected Class Members. Finally, Plaintiffs seek reasonable
27   attorneys’ fees and costs incurred in bringing this motion.
28

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1    II.    BACKGROUND AND PROCEDURAL HISTORY
2           The Court is familiar with the long history of this case. Suffice to say that, after three years
3    of hard-fought litigation, the Parties signed the Settlement Agreement on June 22, 2022, and filed
4    a motion for preliminary approval the same day. See ECF No. 246, 246-1. The Court granted
5    preliminary approval on August 4, 2022. ECF No. 307. After briefing and argument from the
6    Parties and four educational institutions that intervened to oppose the settlement, the Court granted
7    final approval on November 16, 2022, and entered judgment. ECF Nos. 345, 346. The intervenors
8    appealed that decision and sought to stay the final approval order pending their appeals. See ECF
9    Nos. 347–350. The Court denied the motion to stay, and in doing so, confirmed that the
10   Agreement’s Effective Date was January 28, 2023. ECF No. 382 at 8. 1
11          Following the Court’s denial of the intervenors’ motion to stay, the Department reported
12   that it had communicated discharge requests for members of the automatic relief group to the
13   Department’s loan servicers. See Exhibit 15 at 1 (Letter from Department of Justice (“DOJ”) to
14   Plaintiffs’ Counsel dated Feb. 16, 2024). In its initial settlement report pursuant to Section IV.G.1
15   of the Agreement, the Department reported that there were 195,993 Class Members in the
16   automatic relief group. See Exhibit 2 at 1 (Initial Report under Settlement Agreement in Sweet et
17   al. v. Cardona, dated Feb. 27, 2023).
18          A.      The “Return to Repayment” Reveals Gaps and Inaccuracies in Settlement
19                  Implementation

20          On September 1, 2023, the nationwide pause on student loan payments due to the COVID-
21   19 pandemic ended. While the COVID payment pause was in effect, all Class Members—along
22   with every other federal student loan borrower in the country—were protected against demands
23   for payments from their loan servicers. When the payment pause ended, the Settlement Agreement
24   provided that Class Members’ Relevant Loan Debt (that is, loans associated with their borrower
25
26
     1
27     The intervenors also sought, and were denied, a stay from the Ninth Circuit Court of Appeals and
     the U.S. Supreme Court. See Everglades College, Inc. v. Cardona, No. 23-15049, DE 19 (9th Cir.
28   Mar. 29, 2023); Everglades College, Inc. v. Cardona, 143 S. Ct. 1443 (2023) (Mem).

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1    defense applications under the Agreement) would “remain in forbearance or stopped collection
2    status pending the effectuation of relief.” Agreement § IV.A.3.
3           In the months leading up to the national “return to repayment,” the Department’s post-
4    settlement reporting pursuant to Sections IV.G.2–4 of the Agreement reflected steadily increasing
5    numbers of automatic relief group Class Members for whom relief had been “effectuated.” 2
6    “Effectuated relief” is defined in the Agreement to mean that the Defendants
7           and their loan servicers have taken all steps necessary to discharge the Relevant
            Loan Debt of the Class Member . . . , including but not limited to (1) discharging
8           any interest that accrued while the borrower defense application was pending; (2)
9           determining if the Class Member . . . is entitled to any refund, and if so, issuing
            refund check(s) for payment of that refund; (3) if the Class Member’s . . . Relevant
10          Loan Debt was previously in default, removing such debt from default status; and
            (4) requesting the deletion of the relevant tradeline.
11
     Agreement § IV.F.1. Yet as soon as the return to repayment began, Plaintiffs’ Counsel began
12
     hearing from Class Members who were receiving bills demanding payment on their Relevant Loan
13
     Debt. See Ex. 29 ¶ 4 (Decl. of Reilly Loynd).
14
            Plaintiffs’ Counsel promptly contacted the Department to report these problems. See Ex. 7
15
     (Email from Plaintiffs’ Counsel to DOJ dated Sept. 19, 2023). DOJ stated that it was aware of the
16
     problem and assured Plaintiffs’ Counsel that it would provide servicers with a “do not bill list”
17
     that included all Sweet Class Members. See Ex. 9 (Email from Plaintiffs’ Counsel to DOJ dated
18
     Oct. 6, 2023). That list was reportedly distributed to servicers on or about October 27, 2023. See
19
     Ex. 10 (Email from DOJ to Plaintiffs’ Counsel dated Oct. 27, 2023).
20
            Other events in fall 2023 further demonstrated that the Department was well aware of the
21
     problem of servicers billing borrowers who should not be billed (among other servicing failures).
22
     For example, on October 30, 2023, the Washington Post reported that servicers sent bills to
23
24
25
26
     2
27    Ex. 3 (First Quarterly Report under Settlement Agreement in Sweet et al. v. Cardona (May 30,
     2023)); Ex. 4 (Second Quarterly Report under Settlement Agreement in Sweet et al. v. Cardona
28   (Aug. 28, 2023)).

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1    approximately 16,000 people with pending or approved borrower defense applications. 3 That same
2    day, the Department announced that it was withholding $7.2 million from one of its servicers
3    relating to errors in the return to repayment. 4 Soon thereafter, the Department announced a new
4    “framework” for servicer accountability. 5 The Consumer Financial Protection Bureau (CFPB) also
5    published a report detailing extensive servicing failures since the return to repayment, including
6    incorrectly sending bills to borrowers with approved or pending borrower defense applications.6
7    As the CFPB observed, “[t]hese errors not only cause significant borrower confusion, but they
8    may also cause harm where borrowers pay a wrongly inflated amount or are forced to expend
9    considerable time and resources to fix servicer errors.” 7
10              Despite DOJ’s representations about the “do not bill list,” Plaintiffs’ Counsel continued to
11   receive reports from Class Members that their servicers were sending them bills and/or refusing to
12   maintain their accounts in forbearance status. See Ex. 29 ¶ 5 (Loynd Decl.); Ex. 11 at 1–2 (Letter
13   from Plaintiffs’ Counsel to DOJ dated Dec. 14, 2023). Plaintiffs asked a number of questions about
14   how the Department would ensure that Sweet Class Members were not being wrongfully billed or
15   removed from forbearance; the Department did not respond. See Ex. 11 at 2.
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17
18
     3
       Danielle Douglas-Gabriel, “Biden administration begins punishing servicers for student loan
19   errors,”      Wash.        Post       (Oct.        30,      2023),        available        at
20   https://www.washingtonpost.com/education/2023/10/30/student-loan-servicing-errors-mohela/.
     4
       Press Release, “U.S. Department of Education Announces Withholding of Payment to Student
21   Loan Servicer as Part of Accountability Measures for Harmed Borrowers” (Oct. 30, 2023),
22   https://www.ed.gov/news/press-releases/us-department-education-announces-withholding-
     payment-student-loan-servicer-part-accountability-measures-harmed-borrowers.
23   5
       Press Release, “Biden-Harris Administration Announces Framework for Student Loan Servicer
24   Accountability      To     Protect      Borrowers      Nationwide”     (Nov.     9,   2023),
     https://www.ed.gov/news/press-releases/biden-harris-administration-announces-framework-
25   student-loan-servicer-accountability-protect-borrowers-nationwide.
     6
26     Consumer Fin. Protection Bureau, “Issue Spotlight: Federal Student Loan Return to Repayment”
     (Jan. 2024), available at https://files.consumerfinance.gov/f/documents/cfpb_federal-student-
27   loan-return-to-repayment-report_2024-01.pdf.
     7
28       Id. at 9.

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1           Meanwhile, in connection with these return-to-repayment problems, Plaintiffs questioned
2    whether the Department’s post-settlement reporting had been accurate. That is, Plaintiffs’ Counsel
3    inquired why, if automatic relief group members had in fact received their Full Settlement Relief,
4    they were still getting billed by their servicers. See Ex. 8 (Email from Plaintiffs’ Counsel to DOJ
5    dated Sept. 29, 2023). In a telephone call on October 4, 2023, the Department responded that it
6    would investigate the accuracy of its relief reporting data. See Ex. 9 (Oct. 6 email). Yet the
7    Department’s next quarterly report showed no corrections or other evidence of such an
8    investigation. See Ex. 5 (Third Quarterly Report under Settlement Agreement in Sweet et al. v.
9    Cardona (Nov. 27, 2023)). Indeed, as late as January 24, 2024, the Department continued to
10   represent that its data were accurate. At that point, the Department claimed that 95% of borrowers
11   in the automatic relief group would receive Full Settlement Relief by the January 28, 2024,
12   deadline. Ex. 15 at 2 (Feb. 16 letter).
13          B.      The Department Violates the Automatic Relief Group Deadline
14          As the relief deadline approached, Plaintiffs’ Counsel began hearing from increasing
15   numbers of Class Members in the automatic relief group who had not received their discharge,
16   refund, credit repair, or a combination thereof. Ex. 29 ¶¶ 7–8 (Loynd Decl.). Plaintiffs’ Counsel
17   requested a meeting with the Department and DOJ to discuss whether the Department was going
18   to meet its mandated deadline. Ex. 12 (Email from Plaintiffs’ Counsel to DOJ dated Jan. 17, 2024).
19   In a telephone call on January 24, 2024, the Department stated that there were approximately
20   11,500 Class Members entitled to discharges by January 28 who would not receive their discharges
21   on time, reportedly due to “complex” loan situations. See Ex. 13 at 1–2 (Notice of Settlement
22   Breach dated Feb. 2, 2024). The Department acknowledged, however, that it had also sent
23   discharge notices to the former, not the current, servicers of up to 40,000 additional Class Members
24   in the automatic relief group, and it had not verified whether this large group of Class Members
25   had in fact received discharges. Id. at 2. The Department stated that it “could not estimate” when
26   it would be able to track down the relief status for these 40,000 Class Members. Id.
27          On the January 24 call, Plaintiffs’ Counsel also explained to the Department that there were
28   Class Members who had not yet received their discharges even though they didn’t fit into any of

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1    the Department’s already-identified “complex” categories. This particularly included students with
2    commercial FFEL loans (which are held by lenders outside the Direct Loan servicing system)—
3    including named plaintiff Theresa Sweet. 8 See id. at 3.
4           The Department further admitted on January 24, 2024, that there were at least 5,000 Class
5    Members in the automatic relief group who would not receive full refunds by the January 28
6    deadline, all of whom had Aidvantage as their servicer. See id. But information that Plaintiffs’
7    Counsel had received from Class Members indicated that the problem was far more widespread
8    than that number suggested. Between January 28, 2024, and February 2, 2024, Plaintiffs’ Counsel
9    heard from approximately 1,500 Class Members who did not have Aidvantage as their servicer
10   and who either had not received any refund or had not received a refund in the amount they
11   believed they were owed. Id. Plaintiffs’ Counsel had also, by this point, received reports from
12   nearly 1,200 Class Members that their Relevant Loan Debt was still appearing on their credit
13   reports; the Department acknowledged that it had not taken steps to verify whether its servicers
14   were accurately reporting to the credit bureaus. Id. at 3–4.
15          Given these major gaps, Plaintiffs’ Counsel questioned how the Department could reliably
16   assert that Full Settlement Relief would be effectuated by the deadline for 95% of the automatic
17   relief group. The Department admitted that it did not know what the servicers really meant when
18   they reported that relief had been “effectuated,” and that it had not verified the servicers’ claims
19   that they were actually providing Full Settlement Relief to Class Members. Id. at 6.
20          On February 2, 2024, pursuant to Section V.D.1 of the Settlement Agreement, Plaintiffs
21   served Defendants with notice of Plaintiffs’ allegation that Defendants were in material breach of,
22   inter alia, Section IV.A.1 of the Settlement Agreement for their failure to effectuate Full
23   Settlement Relief by the applicable deadline. 9 Id. at 1.
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     8
25     Ms. Sweet received her discharge on March 10, 2024, after Plaintiffs informed Defendants that
     they planned to file this motion on March 19.
26
     9
      Plaintiffs also alleged material breaches of Section IV.G (failure to submit timely and complete
27   quarterly reports) and Sections IV.A.3 and IV.C.7 (failure to maintain Class Members’ Relevant
     Loan Debt in forbearance or stopped collection status). See Ex. 13 at 5–8. In a subsequent notice
28

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1           C.      The Parties Seek, But Fail to Reach, Consensus on Cure
2           Pursuant to Section V.D.3 of the Agreement, the Department responded in writing to
3    Plaintiffs’ notice on February 16, 2024. Ex. 15. In that response, the Department acknowledged
4    that “full settlement relief has not been implemented for all borrowers who are entitled to such
5    relief under Paragraph IV.A.1 of the Agreement by January 28, 2024.” Id. at 1. The Department
6    also admitted that its previous estimate of 95% relief delivery was wildly inaccurate: in fact, it
7    stated, it could only confirm that 69% of automatic relief group members had received their
8    discharges by February 15, 2024. Id. at 2. The remaining 31% of the automatic relief group—
9    representing 60,401 Class Members—was divided nearly equally between those who definitely
10   had not received their discharges and those whose discharge status the Department was, so far,
11   unable to verify. Id. The Department also admitted that “there may be some [automatic relief
12   group] borrowers who have not yet received refunds to which they are entitled under the terms of
13   the Agreement,” but did not offer any estimate of how many Class Members were in this situation.
14   Id. at 5–6. Finally, the Department acknowledged that “the relevant loan debt for some [automatic
15   relief group] borrowers has not yet been removed from their credit reports,” but baselessly
16   disclaimed responsibility for its servicers’ conduct with respect to credit reporting. Id. at 6; see Ex.
17   19 at 6 (Letter from Plaintiffs’ Counsel to DOJ dated Mar. 13, 2024).
18          Despite these dispositive admissions, the Department maintained that it was “not prepared
19   at this time to issue a determination regarding material breach” of Section IV.A.1, and stated that
20   it would provide a “supplement” to its letter by March 1, 2024. Ex. 15 at 2–3. In other words,
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22
     on February 14, 2024, Plaintiffs alleged further violations of Section IV.G relating to the failure
23   to include eligible Class Members in the Department’s counts of people entitled to Settlement
24   relief. See Ex. 14 (Second Notice of Settlement Breach dated Feb. 14, 2024). Through the meet
     and confer process, the Parties are close to reaching consensus on how the Department can cure
25   the alleged breaches of the reporting requirements, and thus those allegations are not addressed in
     the instant motion. Violations of the forbearance provisions do not, under the terms of the
26   Agreement, carry an independent remedy. See Agreement § V.B. As explained infra, however,
27   many of the harms to automatic relief group members that flow from those breaches can be
     addressed by the remedy under Section V.B.2—viz., completing full effectuation of relief as
28   quickly as possible.

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1    having blown the deadline for delivering relief, the Department then failed to meet the Settlement-
2    mandated deadline for determining its position on whether a material breach had occurred (it had).
3            In addition, the Department insisted that implementation errors resulting in Class Members
4    facing collection activity from their servicers were “rare,” despite Plaintiffs’ Counsel having
5    provided the Department with hundreds of names of Class Members who had complained about
6    this very conduct. Id. at 7; compare Ex. 29 ¶ 6 (Loynd Decl.). The Department nonetheless
7    “believe[d]” that the “overwhelming majority of class members whose loans have not yet been
8    discharged are in the appropriate forbearance or stopped collection status,” and thus disagreed that
9    any material breach of the Agreement had occurred. Ex. 15 at 7. The Department did not provide
10   substantiation of the basis for this belief.
11           The Parties first met and conferred on February 26, 2024. At that time, the Department
12   argued that the determination of whether it had breached Section IV.A.1 should be made as of
13   March 1, 2024, because the intervenors’ stay motion had delayed implementation of the
14   Agreement by approximately a month in February 2023. While Plaintiffs did not agree with this
15   position, the Parties mutually acknowledged that the Department would be in material breach of
16   the Agreement as to any Class Members in the automatic relief group who did not receive Full
17   Settlement Relief by March 1, 2024. See Ex. 16 at 1 & n.1 (Letter from Plaintiffs’ Counsel to DOJ
18   dated Mar. 1, 2024). The Department also stated during the meet-and-confer session that it was
19   not yet ready to offer a timeline for delivering the remaining relief to the automatic relief group,
20   but it committed to providing an update by March 1. The Department continued to insist that it
21   was not responsible for its servicers’ conduct with respect to the credit reporting aspect of relief—
22   despite the fact that the Settlement Agreement requires “Defendants . . . and their loan servicers”
23   to “take[] all steps necessary” to “request[] the deletion of the relevant tradeline” for each Class
24   Member’s Relevant Loan Debt. Agreement § IV.F.1 (emphasis added); see Ex. 16 at 2 (Plaintiffs’
25   Mar. 1 letter).
26           In a letter on March 1, 2024, the Department officially conceded that it was in material
27   breach of Section IV.A.1. See Ex. 17 at 1 (Letter from DOJ to Plaintiffs’ Counsel dated Mar. 1,
28   2024). Crucially, however, the Department stated that it still could not “reliably identify [a]

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1    timeline” for providing Full Settlement Relief to all affected Class Members, and it did not provide
2    any date by which it would identify a timeline—let alone give any indication of what that timeline
3    might be. Id. at 2.
4            The Parties further met and conferred on March 5, March 18, and March 19, 2024, to
5    attempt to reach consensus on how the Department could rectify its breach of Section IV.A.1.
6    Plaintiffs’ Counsel repeatedly emphasized that the most important factor in reaching an agreement
7    would be the Department’s commitment to “a strict and near-term deadline by which all Class
8    Members in the automatic relief group will receive their Full Settlement Relief—with no
9    exceptions.” Ex. 16 at 4 (Plaintiffs’ Mar. 1 letter). On March 13, 2024, Plaintiffs proposed a
10   schedule that would have given the Department approximately ten more weeks—for a total of over
11   four months since the original deadline—to complete the effectuation of relief. See Ex. 19 at 2. In
12   a phone call on March 18, the Department countered with an offer to deliver relief to some Class
13   Members by July 31, 2024—but even that proposal still would have left at least 20,000 members
14   of the automatic relief group without a firm date by which to expect their already-overdue
15   discharges and refunds. Likewise, on March 19, the Department stated that a proposed deadline
16   encompassing the entire automatic relief group would be merely “aspirational.”
17           Ultimately, because of the Department’s unwillingness to commit to an acceptable timeline
18   for the delivery of relief to all members of the automatic relief group, the Parties were unable to
19   reach consensus. Thus, pursuant to Section V.B.2 of the Settlement Agreement, the Plaintiffs bring
20   this enforcement action.
21           D.      Harm to Class Members from Continued Delay
22           Class Members in the automatic relief group are continuing to suffer harm each day that
23   relief goes undelivered. Many had already made significant life plans based on the original relief
24   deadline—for instance, finding stable housing, paying for needed health and dental care, replacing
25   broken-down cars, paying off suffocating private for-profit student loan debts, and helping
26   children pay for college to give them the opportunity that their own predatory institution denied
27   them. See Ex. 26 ¶ 10 (Decl. of Meghan Ratte); Ex. 21 ¶ 19 (Decl. of Laura Dadich); Ex. 22 ¶¶ 15,
28   16 (Decl. of Stella Johnson); Ex. 23 ¶¶ 14, 15 (Decl. of Christopher Matthews).

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1           Class Members also continue to suffer compounding consequences from the Department’s
2    delay the longer it continues. Automatic relief group Class Members whose loans were not
3    discharged by the January 28 deadline have received conflicting information from the
4    Department’s student loan servicers on their entitlement to relief, and in at least some cases have
5    received collection notices for loans that should have been cancelled. See Ex. 28 ¶ 23 (Decl. of
6    Christina Shaw) (“The November 3 email from EdFinancial also stated that they knew I was
7    covered by borrower defense and ‘there are no payments due during this process.’ But recently,
8    on March 17, 2024, I received a bill from EdFinancial stating that I owe them a monthly payment
9    of $323.03 which is supposedly due on April 16, 2024.”); Ex. 27 ¶ 10 (Decl. of Julie Sams).
10          The Department’s failure to deliver Full Settlement Relief also has resulted in the continued
11   reporting of settlement loan balances on Class Members’ credit reports. See Ex. 28 ¶ 20 (Shaw
12   Decl.); Ex. 26 ¶ 9 (Ratte Decl.); Ex. 20 ¶ 9 (Decl. of Malissa Aaronson); Ex. 22 ¶ 13 (Johnson
13   Decl.); Ex. 24 ¶ 16 (Decl. of Michael McDonald). The continued reporting of a balance due on
14   loans required to be discharged under the Settlement has serious and ongoing repercussions for
15   Class Members—who find themselves paying a higher cost for credit, or denied credit entirely,
16   because of these accounts’ impact on their debt-to-income ratio. See Ex. 24 ¶ 18 (McDonald Decl.)
17   (“I am trying to find a home for myself and my child that’s closer to where I work, but both the
18   rent and home prices are higher in that area. Because of my student loan debt—more than half of
19   which is from the University of Phoenix—I can’t get any kind of loan without a co-signer. I cannot
20   buy a car on my own, much less a house. I’ve been told no by every mortgage lender in my area;
21   in many cases, they won’t even run a full credit check once they see how high my debt-to-income
22   ratio is.”); Ex. 26 ¶ 10 (Ratte Decl.); Ex. 21 ¶ 18 (Dadich Decl.); Ex. 25 ¶ 13 (Decl. of Katelin
23   Mundy).
24   III.   ARGUMENT
25          A.      The Court Has Jurisdiction to Decide This Motion
26          If the parties to a case “wish to provide for the court’s enforcement of a dismissal-
27   producing settlement agreement, they can seek to do so.” Kokkonen v. Guardian Life Ins. Co. of
28   Am., 511 U.S. 375, 381 (1994) (emphasis omitted); see Arata v. Nu Skin Int’l, Inc., 96 F.3d 1265,

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1    1268–69 (9th Cir. 1996) (applying Kokkonen to class action settlement). “Indeed, a district court
2    must have ‘power to enforce’ its order approving a settlement ‘to protect the integrity of a complex
3    class settlement over which it retained jurisdiction.’” In re Volkswagen “Clean Diesel” Mktg.,
4    Sales Practices & Product Liab. Litig., 975 F.3d 770, 775 (9th Cir. 2020) (quoting In re Prudential
5    Ins. Co. of Am. Sales Practice Litig., 261 F.3d 355, 367–68 (3d Cir. 2001)).
6           Here, the Court stated in its Final Judgment: “The Court should retain jurisdiction to
7    monitor and oversee implementation of the settlement as set forth in the settlement agreement.”
8    ECF No. 346. This is sufficient to establish the Court’s jurisdiction over this motion. See
9    Kokkonen, 511 U.S. at 381 (courts have jurisdiction to enforce settlement agreement “if the parties’
10   obligation to comply with the terms of the settlement agreement ha[s] been made part of the order
11   of dismissal—either by separate provision (such as a provision ‘retaining jurisdiction’ over the
12   settlement agreement) or by incorporating the terms of the settlement agreement in the order.”).
13          The pending appeal by the Intervenors does not affect the Court’s jurisdiction in these
14   circumstances. Although, as a general matter, “an appeal to the circuit court deprives a district
15   court of jurisdiction as to any matters involved in the appeal,” that rule “should not be applied in
16   those cases where the district court, as here, has a continuing duty to maintain a status quo, and
17   where, as the days pass, new facts are created by the parties and the maintenance of the status quo
18   requires new action.” Hoffman by & for N.L.R.B. v. Beer Drivers & Salesmen’s Local Union No.
19   888, 536 F.2d 1268, 1276 (9th Cir. 1976); see also Oceana, Inc. v. Ross, 359 F. Supp. 3d 821, 827
20   (N.D. Cal. 2019) (“[A]lthough the Court does not have jurisdiction to decide the merits of the issue
21   that is currently on appeal, ‘a district court has continuing jurisdiction in support of its judgment,
22   and until the judgment has been properly stayed or superseded, the district court may enforce it.’”
23   (quoting Armstrong v. Brown, 857 F.Supp.2d 919, 948–49 (N.D. Cal. 2012))); E. Bay Sanctuary
24   Covenant v. Barr, 391 F. Supp. 3d 974, 978 (N.D. Cal. 2019), aff’d, 964 F.3d 832 (9th Cir. 2020),
25   and aff’d sub nom. E. Bay Sanctuary Covenant v. Garland, 994 F.3d 962 (9th Cir. 2020) (noting
26   that this “longstanding exception to the divestiture rule” is codified via Fed. R. Civ. P 62(d)). In
27   this case, the Settlement Agreement became effective on January 28, 2023, and it has not been
28   stayed. See supra. Maintenance of the status quo thus means ensuring that the Department is

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1    following the Agreement. Doing so will not alter the status of the Parties nor reflect on the issues
2    raised in the appeal. See E. Bay Sanctuary Covenant, 391 F. Supp. 3d at 978–79 (collecting cases).
3           The Parties’ Settlement Agreement provides that this Court “shall retain jurisdiction only
4    to review claims set forth” in the applicable section. Agreement § V.A. One of the enumerated
5    “claims permissible to enforce this Agreement” is “a claim alleging that Defendants have
6    materially breached Paragraph IV.A.1 . . . of the Agreement by failing to effectuate relief within
7    the prescribed time periods for any individual who is entitled to receive relief pursuant those
8    Paragraphs.” Id. § V.B.2. This motion is such a claim.
9           The Agreement further provides that “the Court shall retain jurisdiction only to order the
10   relief explicitly specified for each particular claim and only where Defendants have not provided
11   that relief pursuant to the procedures specified in this Section.” Id. § V.A. As detailed supra,
12   despite the Parties’ good-faith participation in a meet-and-confer process, the Department has not
13   provided or agreed to provide the contemplated remedy for its admitted breach of Section
14   IV.A.1—that is, a date certain by which each and every member of the automatic relief group will
15   receive Full Settlement Relief. That is the remedy that Plaintiffs are seeking in this motion.
16          B.      Plaintiffs Are Entitled to Relief Under Section V.B.2 of the Agreement
17                    i.    Defendants Have Materially Breached Section IV.A.1
18          Defendants concede that they have materially breached Section IV.A.1 by failing to deliver
19   Full Settlement Relief to all members of the automatic relief group by the deadline of January 28,
20   2024. Ex. 17 at 1 (DOJ’s Mar. 1 letter).
21                      ii. Defendants Have Not Provided the Contemplated Relief
22          The primary form of relief contemplated by the Agreement for a violation of Section
23   IV.A.1 is for the Department to “promptly provide Full Settlement Relief to each affected
24   individual.” Agreement § V.B.2.i. As detailed supra, the Department did not even provide a
25   proposal for a relief timeline until the day before the instant motion was filed, and that proposal
26   failed to include all members of the automatic relief group. The timeline offered hours before the
27   instant motion was filed was described by the Department and DOJ as “aspirational.” Further delay
28   and uncertainty are unacceptable.

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1           Setting a firm, final date for the delivery of relief is crucial for affected Class Members.
2    This Court has already recognized the gravity of the harm that Class Members face as a result of
3    the Department’s delay: over three years ago, this Court observed, “Here, time is of the essence.
4    We don’t enjoy the luxury of seeking simply to forestall harm — it descended upon the class long
5    ago.” ECF No. 146 at 15.
6           Now, more than 16 months after the Court’s final approval of settlement, tens of thousands
7    of Class Members continue to wait for relief. For these borrowers, the timely delivery of Full
8    Settlement Relief on January 28, 2024—loan cancellation, credit repair, and refunds—was not a
9    luxury but a necessity. In addition to the real and significant harms discussed above, Class
10   Members struggle with the bitterly ironic proposition that, under a Settlement intended to remedy
11   years of unjustified and inexplicable delay, they must now wait indefinitely for the Department to
12   deliver relief. For many borrowers, this added uncertainty and delay is heartbreaking:
13          x   “I have paid thousands of dollars over more than a decade toward worthless
                credits from Katherine Gibbs/SBI. Learning that my federal loans would be
14              forgiven and refunded under this settlement was a great relief, but now the wait
15              to see whether and when my relief will actually arrive is causing me renewed
                stress. Being able to finally put this matter to rest would help me sleep better at
16              night.” Ex. 21 ¶ 20 (Dadich Decl.).
17          x   “These loans from the University of Phoenix for a worthless education have
18              been a burden on me for a decade now. When I heard that they would be
                discharged, I thought the stress would finally be over. But instead, I now have
19              a new source of stress, wondering if or when the government is going to keep
                its promise.” Ex. 24 ¶ 20 (McDonald Decl.).
20
            x   “All I want is a chance of undoing some of the damage and harm that DeVry
21
                caused to my family and me and to get the relief that I am entitled to get. I am
22              exhausted from worrying and stressing about finances. I am exhausted from the
                dark thoughts that come and go while remembering I have a family I am
23              fighting to provide for.” Ex. 25 at 17 (Mundy Decl.).
24
            Requiring the Department to complete the effectuation of relief in a timely manner will
25
     also resolve the servicing errors that Class Members have experienced—with respect to both
26
     unlawful collections and inaccurate credit reporting. See, e.g., Ex. 28 ¶¶ 19–23 (Shaw Decl.); Ex.
27
     27 ¶¶ 9–11 (Sams Decl.). Delivering Full Settlement Relief in its entirety will mean that Class
28

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1    Members’ loans will be off the servicers’ books and the servicers will have completed the process
2    of clearing their credit.
3            Class Members need the effectuation of Full Settlement Relief to be completed so that they
4    can move on with their lives. Under the circumstances, members of the automatic relief group
5    cannot wait for the Department to gather “additional information” for some unspecified period of
6    time before it commits to a new deadline for all group members. Ex. 18 at 2 (DOJ’s Mar. 8 letter).
7            Therefore, pursuant to Section V.B.2.i of the Agreement, Plaintiffs request that this Court
8    issue “an order requiring Defendants to promptly provide Full Settlement Relief to each affected
9    individual on a schedule set by the Court.” Plaintiffs respectfully propose that such an order would
10   be best effectuated if the Court were to designate a single individual within the government to
11   oversee the Department’s compliance—in particular, an individual who has not previously been
12   involved in overseeing the Department’s botched handling of the Settlement. That person could
13   be, for example, the student loan ombudsperson from either Federal Student Aid, see 20 U.S.C.
14   § 1018(f), or the Consumer Financial Protection Bureau, see 12 U.S.C. § 5535.
15                      iii. Defendants Should Provide Detailed Reports on Their Progress
16           Section V.B.2.ii of the Agreement provides that, “[i]n the event of” the Court issuing an
17   order imposing a relief timeline on the Department, “Defendants will report to Plaintiffs’ Counsel
18   and the Court on its progress of issuing relief, as provided herein, to affected Class Members.”
19   Plaintiffs request that this Court, should it impose a schedule under Section V.B.2.i, also set
20   parameters for Defendants’ reporting requirements under this subsection.
21           Specifically, Plaintiffs request that the Court order the Department to file such reports at
22   14-day intervals, beginning 14 days after this Court’s order on this motion. These reports should
23   include (but need not be limited to) the numbers of Class Members in the automatic relief group
24   who:
25                 1.    Are confirmed to have received each of the following categories of relief:
26
                             a. Discharges of all Relevant Loan Debt;
27
                             b. All refunds to which they are entitled; and
28

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                            c. A request sent from their current loan servicer(s) to all credit reporting
1
                               agencies to remove the credit tradeline for all Relevant Loan Debt from
2                              their credit reports.

3                 2.    Are confirmed to have not received each of the following categories of relief:
4                          a. Discharges of all Relevant Loan Debt;
5                          b. All refunds to which they are entitled; and
6
                           c. A request sent from their current loan servicer(s) to all credit reporting
7                             agencies requesting removal of the credit tradeline for all Relevant Loan
                              Debt from their credit reports.
8
                  3.    Have not had their relief status confirmed by the Department as to each of the
9
                        following categories of relief:
10
                           a. Discharges of all Relevant Loan Debt;
11
                           b. All refunds to which they are entitled; and
12
                           c. A request sent from their current loan servicer(s) to all credit reporting
13                            agencies requesting removal of the credit tradeline for all Relevant Loan
14                            Debt from their credit reports.

15                4.    For Class Members in categories (2) and (3), including all subcategories, how
                        many Class Members are serviced by each of the federal loan servicers.
16
                  5.    For Class Members in categories (2)(a) and (3)(a), how many are confirmed by
17
                        the Department to currently have their Relevant Loan Debt (including
18                      consolidation loans that contain Relevant Loan Debt) in a status of forbearance,
                        stopped collections, or $0 monthly payments under any of the available income-
19                      driven repayment plans.
20                          a. For any Class Members in categories (2)(a) and (3)(a) who are not
21                             currently in such status, how many of them are serviced by each of the
                               federal loan servicers.
22
23          The reports should also include a description of the steps the Department has taken to verify

24   that these reported numbers are accurate. That description and the veracity of the data should be

25   attested to under oath by a senior Department official, such as the Chief Operating Officer of

26   Federal Student Aid or another senior official with supervisory authority over the process of

27   effectuating settlement relief. At Plaintiffs’ request, the Department should be required provide to

28   Plaintiffs’ Counsel (with appropriate confidentiality safeguards) the names, contact information,

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1    and current servicer of Class Members in any of the above categories so that Plaintiffs can provide
2    updated information directly to Class Members and/or seek confirmation of their relief status.
3               C. Plaintiffs’ Counsel Are Entitled to Reasonable Fees and Costs
4           The Settlement Agreement provides that, “[s]hould Plaintiffs prevail on [a] claim” that
5    Defendants have violated Section IV.A.1 of the Agreement, “Defendants shall also be liable for
6    Plaintiffs’ reasonable attorneys’ fees and costs incurred in bringing the claim.” Agreement
7    § V.B.2.i. Should this Court grant the instant motion, Plaintiffs request that the Court order
8    Defendants to pay Plaintiffs’ reasonable fees and costs, in an amount to be determined.
9                                             CONCLUSION
10          For the reasons set forth above, Plaintiffs respectfully request that the Court issue an order
11   requiring Defendants to (i) provide Full Settlement Relief to each Class Member in the automatic
12   relief group by May 31, 2024, or such other date as the Court deems appropriate; (ii) satisfy
13   reporting requirements consistent with that goal as set forth above; and (iii) pay Plaintiffs’
14   Counsel’s reasonable fees and costs incurred in bringing this motion.
15
16   Dated: March 19, 2024                         Respectfully submitted,
17                                                 _Rebecca C. Eisenbrey __________
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